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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS




Intercurrency Software LLC
                                                                2:24-cv-00218
v.                                                     Civ. No. ________________________

iFinex, Inc.




                AFFIDAVIT IN SUPPORT OF CLERK’S ENTRY OF DEFAULT

       I hereby certify that I am the plaintiff or the attorney of record for the plaintiff in the above
                             iFinex, Inc.
cause, and that defendant ________________________________              was served by the following
method:
         Service via the Texas Secretary of State at 1019 Brazos, Austin, TX 78701
         on April 4, 2024, with affidavit of service filed at Dkt. 4.




       I further certify that the defendant has failed to serve an answer or other responsive pleading;
no extension has been granted or any extension has expired; the defendant is neither an infant (under
age 21) nor an incompetent person; the defendant is not in the active military service of the
United States of America or its officers or agents or was not six months prior to the filing of the
case. Therefore, the Clerk is requested to enter a default against said defendant.

       I declare (or certify, verify, or state) under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct.

                                                Christopher A. Honea
                                                __________________________________________
Date:                                           Plaintiff or Attorney for Plaintiff
08/30/2024
___________________                             TX 24059967
                                                __________________________________________
                                                Bar No.
                                                119 W. Ferguson St., Tyler, TX 75702
                                                __________________________________________
                                                Address

                                                __________________________________________
